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_________________                                                           Raymond Tese, Esq.
                                                                              (1912-2002)


Honorable Martin Glenn, U.S.B.J.
United States Bankruptcy Court, S.D.N.Y.
One Bowling Green
New York, New York 10004

                                   April 26, 2019
          Re: Kelly Sue Watson
              Case No. 19-10253(MG), Chapter 7 Case

                Withdrawal of Objection to Loss Mitigation
                Inability to attend rescheduled hearing time

Dear Judge Glenn:

               The Trustee, Angela Tese-Milner, Esq., submits this letter, and withdraws her
objection to the Debtor’s loss mitigation request.
               The Trustee has determined that the capital gains taxes would be high in this case
and therefore has been unable to negotiate a carve-out with the secured creditors which would
provide equity for the estate.
                The Trustee has been notified this afternoon that the loss mitigation hearing has
been rescheduled to 10:00 am on April 29, 2019. The Trustee will be conducting 341 meetings
at that time, and cannot attend the rescheduled hearing.
               The Trustee intends to file a notice of abandonment of the Florida Property.

                .




                                                 Respectfully Submitted,

                                               By: /s/ ____Angela Tese-Milner
                                                   Angela Tese-Milner
                                                   THE LAW FIRM OF TESE & MILNER
                                                   Counsel for the Chapter 7 Trustee
                                                   735 Wickham Avenue
                                                   P.O. Box 35
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Wells Fargo, N.A., Home equity Group , 1 Home       Campus X2303-01A, Des Moines, IA
50328-0001: Investors Bank , c/o Wells Fargo Bank, N.A. as Servicing Agent, c/o Frenkel




Lambert et al., attn.: Elizabeth Doyaga, Esq., 53 Gibson Street, Bay Shore, NY 11706- 2
